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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                 __________ District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.
                  JASON DANIEL RIDDLE                              )
                   AKA: JASON RIDDLE                               )
                    DOB: XXXXXXXX                                  )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                               in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. §§ 1752(a) (1) and (2)                Knowingly Entering or Remaining in any Restricted Building or Grounds
                                                Without Lawful Authority
18 U.S.C. § 641
                                                Theft of Government Property
40 U.S.C. §§ 5104(e)(2)(D) and (G)
                                                Violent Entry and Disorderly Conduct on Capitol Grounds



         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                       Kevin M. Helson, Special Agent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
                                                                                                          Digitally signed by
                                                                                                          G. Michael Harvey
Date:             02/05/2021
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                         G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
